                 IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF PUERTO RICO

     FRANCES CARLO, JOEL LOPEZ,                     )
     and their conjugal partnership,                ) Case No. 3:16-cv-02867-PAD
     EMILY          RAMOS           SANCHEZ,        )
     RICARDO            BONILLA,           EDNA     ) NOTICE OF WITHDRAWAL
     PACHECO          MUŇIZ,        and     their   )
     conjugal partnerships, individually, and       )
     on behalf of all others similarly situated,    )
                                                    )
                    Plaintiffs,                     )
                                                    )
     vs.                                            )
                                                    )
     COLONEL JOSE L. CALDERO,                       )
     VILMA FERNANDEZ, HECTOR                        )
     PESQUERA, JANE DOES, and their                 )
     respective conjugal partnerships, THE          )
     PUERTO           RICO        POLICE            )
     DEPARTMENT,             and        the         )
     COMMONWEALTH OF PUERTO                         )
     RICO,                                          )
                                                    )
                    Defendants.                     )


NOTICE OF WITHDRAWAL OF NICOLE N. COON AS COUNSEL OF RECORD

TO THE COURT, ALL PARTIES, AND ATTORNEYS OF RECORD:


       PLEASE TAKE NOTICE that Nicole N. Coon is withdrawing as counsel of record for

Plaintiff Frances Carlo, et al., individually, and on behalf of all others similarly situated, in the

above-captioned case.

               On October 24, 2016, Ms. Coon was listed as counsel of record on Plaintiff’s

Complaint.     The other attorneys from the firm of Schneider Wallace Cottrell Konecky

Wotkyns LLP, who have appeared in this matter, remain on record as attorneys for Plaintiff.

               Ms. Coon should be removed from the Court’s docket in this case, and should no

longer receive service of docket-related activity in this case.
Dated: December 8, 2017       Respectfully Submitted,


                              /S/ Carolyn Cottrell

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                              Michael C. McKay (admitted Pro Hac Vice)
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                              ATTORNEYS FOR PLAINTIFFS AND
                              THE PROPOSED CLASSES




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 8, 2017, I electronically filed the foregoing document

with the Clerk of the Court using the Court’s CM/ECF system, which will send a notice of

electronic filing to all CM/ECF participants.




Date: December 8, 2017                              /s/ Carolyn Hunt Cottrell
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